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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


INNOVAK INTERNATIONAL, INC.,

         Plaintiff,

vs.
                                                                    CASE NO.: 8:16-cv-02453-MSS-JSS
THE HANOVER INSURANCE COMPANY,

      Defendant.
_______________________________________/


                     THE HANOVER INSURANCE COMPANY’S
          DISPOSITIVE CROSS-MOTION FOR FINAL SUMMARY JUDGMENT
                    AND MEMORANDUM OF LAW IN SUPPORT

         COMES NOW, through undersigned counsel, Defendant, The Hanover Insurance

Company (“Hanover”), respectfully requests that this Honorable Court, pursuant to Federal Rule

of Civil Procedure 56: (i) enter summary judgment in Hanover’s favor; and (ii) dismiss this

insurance coverage action with prejudice. For the reasons set forth more fully below, it is clear

as a matter of law that the subject commercial general liability policy issued by Hanover to

Plaintiff, Innovak International, Inc. (“Innovak”), does not cover the claims and losses resulting

from a cyberattack at Innovak.1

I.       INTRODUCTION
         Innovak is a South Carolina company that designs, develops, and sells accounting and

payroll computer software systems to schools, school systems, and other state agencies in several

states. Innovak’s internet portal stores an array of personally identifiable information, including

social security numbers, addresses, telephone numbers, dates of births, employment information,

1
          Hanover reserves all rights under the Policy and at law, including, but not limited to any and all defenses to
this claim which exist but are not addressed in this Dispositive Cross-Motion for Final Summary Judgment.




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and spousal information. Innovak was the subject of a cyberattack, which allegedly resulted in a

data breach and the theft of the personally identifiable information of numerous individuals

employed by several different school districts in several different states. While it is unclear from

the pleadings when exactly the cyberattack occurred, Innovak apparently advised a news

organization in April 2016 that a data breach had occurred. Innovak did not report the matter to

Hanover until May 13, 2016.

A.       THE DATA BREACH CLASS ACTION AND NOTICE TO HANOVER

         On April 18, 2016, Melissa Bohannan and nine other end users of Innovak’s software

(collectively, the “Underlying Plaintiffs”) filed a class action on their own behalf and on behalf

of other similarly situated end users against Innovak in the U.S. District Court for the Middle

District of Alabama styled, Melissa Bohannan v. Innovak International, Inc., Case No. 1:16-cv-

272-WKW (the “Data Breach Class Action”).2                 The Underlying Plaintiffs filed the First

Amended Class Action Complaint on January 17, 2017, which is now the operative complaint.3

The Underlying Plaintiffs seek various forms of relief as a result of this cyberattack and resulting

theft of personally identifiable information, which the Underlying Plaintiffs refer to as “Personal

and Private Information” or “PPI.”4

         Hanover issued Policy No. ZH6A06623802 (the “Policy”) to Innovak for the period

August 1, 2015 to August 1, 2016.5 The Policy affords commercial general liability insurance

subject to certain terms, conditions, limitations, exclusions and endorsements and was in effect in

April 2016 when Innovak allegedly admitted to a news organization that a data breach had


2
        Copies of the Class Action Complaint and First Amended Class Action Complaint filed in the Underlying
Lawsuit are attached in globo as Exhibit “1.”
3
        See generally, Exhibit 1 (First Am. Comp.).
4
        Id.
5
        A true and correct copy of the Policy is attached hereto as Exhibit “2.” See generally, Ex. 2.



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occurred.6 However, Innovak did not report the cyberattack to Hanover at that time, or earlier.

Innovak was served with the Data Breach Class Action on May 12, 2016 and notified Hanover

the next day of the data breach and suit.7

B.       INNOVAK’S FILING OF THIS DECLARATORY ACTION

         Innovak filed this insurance coverage action on July 21, 2016, in Florida state court,

seeking a judicial declaration that Hanover has a duty to defend Innovak against the Data Breach

Class Action. The Complaint is silent, however, as to the provision under which a defense

obligation is owed.8 Hanover previously disclaimed coverage to Innovak because the allegations

contained in the Data Breach Class Action do not trigger coverage under the general liability

insuring agreements in the Policy (Coverage A and Coverage B) and are expressly excluded

under the Policy’s Data Breach Coverage Form. Hanover removed this action to this Honorable

Court, filed responsive pleadings, and now files this dispositive cross-motion for summary

judgment because it is clear as a matter of law that the commercial general liability policy

Hanover issued to Innovak does not cover the claims asserted in the Data Breach Class Action.

Hanover, therefore, has no duty to defend Innovak in the Data Breach Class Action.

II.      STATEMENT OF UNDISPUTED FACTS

A.       THE “FOUR CORNERS” OF THE DATA BREACH CLASS ACTION

         1.      The Underlying Plaintiffs allege that Innovak has “known since at least 2014 that

the information [PPI] could be at risk of theft if reasonable and adequate measures are not taken

to protect this information.”9



6
         See Ex. 1 (First Am. Comp.) at ¶34.
7
         Hanover’s Agency Acknowledgement Form is attached as Exhibit “3.”
8
         See generally Rec. Doc. 2 (Comp.).
9
         See Ex. 1 (First Am. Comp.) at ¶2.



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         2.      Innovak “was the subject of a data breach” when third-party hackers allegedly

breached Innovak’s software, database and/or portals and stole the Underlying Plaintiffs’ PPI,

“including but not limited to social security numbers, addresses, telephone numbers, dates of

births, employment information, and/or spousal information….”10

         3.      The Innovak cyberattack was the result of Innovak’s alleged failure to “ensure

that its software, database, and/or its cyber data storage systems were adequately protected” and

the Underlying Plaintiffs’ claim that Innovak “failed to timely disclose the data breach to end

users of its software, database and/or portals.”11

         4.      In April 2016, Innovak allegedly “admitted to a news organization that” a data

breach had occurred and the Underlying Plaintiffs claim that “Innovak did not have any security

measures in place to encrypt or secure sensitive PPI which data was stored in its [Innovak’s]

software.”12

         5.      The Underlying Plaintiffs allege that, as a result of the Innovak data breach, they

have suffered financial injuries, including “costs associated with the detection and prevention of

additional identity theft, costs associated with time spent preventing future harms and loss of

productivity associated with mitigating additional harm, stress, nuisance, loss of sleep, worry,

and annoyance.13

         6.      The Underlying Plaintiffs also claim that they “have suffered psychic injuries by

learning that their PPI has been acquired by nefarious individuals with mal intent; fraudulent

accounts opened in some of their names”; false and fraudulent social security returns/refunds

filed in some of their names” and further claim that they “suffer from a real and immediate threat


10
         See Ex. 1 (First Am. Comp.) at ¶1.
11
         See Ex. 1 (First Am. Comp.) at ¶2.
12
         See Ex. 1 (First Am. Comp.) at ¶¶34-37.
13
         See Ex. 1 (First Am. Comp.) at ¶4.



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of future harm related to Innovak’s data breach.” The Underlying Plaintiffs further claim that

they have “suffered concrete and individualized psychic injuries, including but not limited to

stress, nuisance, loss of sleep, worry and the annoyance of having to deal with the Innovak data

breach.”14

         7.      The Underlying Plaintiffs assert five counts against Innovak: Count I for

negligence, Count II for breach of implied contract, Count III for gross negligence, recklessness

and/or wantonness, Count IV for unjust enrichment, and Count V for fraudulent suppression.

         8.      In Count I for negligence, the Underlying Plaintiffs claim that Innovak breached

duties care owed to its end users by failing to secure and protect their PPI.15

         9.      As a result of Innovak’s alleged negligence, the Underlying Plaintiffs seek

recovery of compensatory damages “for the injuries and damages previously described, and set

forth herein again by reference, plus any other damages, costs or fees available, including, but

not limited to attorney’s fees and costs”16 for the injuries they claim to have suffered, including:

                 theft of their PPI, which caused an immediate psychic injury that
                 was concrete and individualized; cost associated with prevention of
                 additional harm; costs associated with credit monitoring; costs
                 associated with the additional prevention of identity theft; identity
                 theft; loss of time to mitigate future harm; loss of time and money
                 dealing with actual identity theft, the concrete and eminent threat
                 of additional harms that are essentially certain to result, worry,
                 stress, loss of sleep and severe emotional distress.17

         10.     In Count II for breach of implied contract, the Underlying Plaintiffs allege that an

implied contract was created to safeguard their PPI when Innovak received it and that Innovak

breached its implied contract(s) with the Underlying Plaintiffs “by failing to safeguard their PPI



14
         See Ex. 1 (First Am. Comp.) at ¶4.
15
         See Ex. 1 (First Am. Comp.) at ¶¶39-41.
16
         See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶42.
17
         See Ex. 1 (First Am. Comp.) at ¶42.



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and by failing to notify the plaintiffs that their PPI was at risk, breached or otherwise

compromised.”18

         11.     As a result of Innovak’s alleged breach of implied contract(s), the Underlying

Plaintiffs seek recovery of compensatory damages “for the injuries and damages previously

described, and set forth herein again by reference, plus any other damages, costs or fees

available, including, but not limited to attorney’s fees and costs.”19

         12.     In Count III for gross negligence, recklessness and/or wantonness, the Underlying

Plaintiffs allege that “Innovak’s failure to provide adequate security” to protect PPI “was grossly

negligent, reckless and/or wanton” and that Innovak “acted with conscious disregard to the safety

of the [Underlying] Plaintiffs’ PPI and the harm that was essentially certain to result if it failed to

protect this highly sensitive and personal information.”20

         13.     As a result of Innovak’s allegedly grossly negligent, reckless and/or wanton

conduct, the Underlying Plaintiffs seek recovery of compensatory damages “for the injuries and

damages previously described, and set forth herein again by reference, plus any other damages,

costs or fees available, including, but not limited to attorney’s fees and costs.”21 Plaintiffs also

seek punitive damages for this cause of action.22

         14.     In Count IV for unjust enrichment, the Underlying Plaintiffs claim that they paid

Innovak for its services and that some of that money was “supposed to be used by Innovak, in

part, to provide adequate security measures to protect” their PPI and Innovak’s failure to




18
         See Ex. 1 (First Am. Comp.) at ¶¶44-48.
19
         See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶48.
20
         See Ex. 1 (First Am. Comp.) at ¶¶50-51.
21
         See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶51.
22
         See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶51.



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“provide reasonable security measures” resulted in unjust enrichment for Innovak to the

detriment of the Underlying Plaintiffs.23

          15.     As a result of Innovak’s alleged unjust enrichment, the Underlying Plaintiffs seek

“disgorgement of this unjust enrichment and full restitution of said monies” to the Underlying

Plaintiffs, “plus any other damages, costs or fees available, including, but not limited to

attorney’s fees and costs.”24

          16.     In Count V for fraudulent suppression, the Underlying Plaintiffs claim that

“Innovak knew or should have known that it had failed to adequately protect” their PPI and

“fraudulently suppressed from the [Underlying] Plaintiffs the material fact that their PPI was at

risk of being compromised” and that they suffered injury as a result of their detrimental reliance

upon Innovak.25

          17.     As a result of Innovak’s alleged fraudulent suppression, the Underlying Plaintiffs

seek recovery of compensatory damages “for the injuries and damages previously described, and

set forth herein again by reference, plus any other damages, costs or fees available, including, but

not limited to attorney’s fees and costs.”26 Plaintiffs also seek punitive damages for this cause of

action.27

B.        THE “FOUR CORNERS” OF THE POLICY

          18.     Hanover issued the Policy to Innovak for the period August 1, 2015 to August 1,

2016.28

          19.     The Policy contains a Data Breach Form that provides as follows:

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

23
          See Ex. 1 (First Am. Comp.) at ¶¶53-58.
24
          See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶51.
25
          See Ex. 1 (First Am. Comp.) at ¶¶60-64.
26
          See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶64.
27
          See Ex. 1 (First Am. Comp.) at “WHEREFORE” paragraph following ¶64.
28
          See generally, Ex. 2.



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                 Various provisions in this Coverage Form restrict coverage. Read the entire Coverage
                 Form carefully to determine rights, duties and what is and is not covered.

                 SECTION A- COVERAGES

                 We will provide Data Breach Services, Data Breach Expense Coverages and Additional
                 Expense Coverages as described below if you have a “data breach” that:

                 a.         Is discovered during the coverage period of this Data Breach Coverage Form;
                 and

                 b.         Is reported to us within 30 days of your discovery of the “data breach”.

                 1.         Data Breach Covered Services and Covered Expenses

                                                            ***
                            c.       Additional Expense Coverage

                 We will pay your reasonable and necessary expenses incurred for the following
                 Additional Expense Coverages. These expenses are subject to the limits of insurance
                 described in Section C - Limits of Insurance.

                 (1)        Legal Services- Expenses incurred within the first six months following the
                            discovery of a “data breach” for outside professional legal counsel review of the
                            “data breach” and recommendations as to how you should best respond to it
                            including final legal review of the proposed breach notification letter(s).
                            However, we will not pay for expenses for legal counsel to review any third
                            party liability litigation or notification of potential litigation.

                                                       ***
                 SECTION B - EXCLUSIONS

                 1.         We will not cover the following regardless of cause:

                            d.       Defense or Legal Liability

                 Any fees, costs, settlements, judgments, or liability of any kind arising in the course
                 of, or as a result of a claim for damages, lawsuit, administrative proceedings, or
                                                                        29
                 governmental investigation against or involving you.

         20.     Coverage A – Bodily Injury and Property Damage Liability of the Policy

provides, in pertinent part, as follows:

                 SECTION I – COVERAGES
                 COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                 1.    Insuring Agreement
                       a.   We will pay those sums that the insured becomes legally obligated to pay as
                            damages because of “bodily injury” or “property damage” to which this
                            insurance applies. We will have the right and duty to defend the insured against

29
         See Ex. 2 at Form 411-0669 (12/09)).



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                            any “suit” seeking those damages. However, we will have no duty to defend the
                            insured against any “suit” seeking damages for “bodily injury” or “property
                            damage” to which this insurance does not apply . . . .30
         21.      The Policy defines “Bodily Injury” to mean bodily injury, sickness or disease

sustained by a person including death resulting from any of these at any time. “Bodily injury”

includes mental anguish or other mental injury resulting from “bodily injury.”31

         22.      The Policy defines “Property damage” as:

                       a.   Physical injury to tangible property, including all resulting loss of use of that
                            property. All such loss of use shall be deemed to occur at the time of the
                            physical injury that caused it; or
                       b.   Loss of use of tangible property that is not physically injured. All such loss of
                            use shall be deemed to occur at the time of the “occurrence” that caused it.

                            For purposes of this insurance, electronic data is not tangible property.

                            As used in this definition, electronic data means information, facts or programs
                            stored as or on, created or used on, or transmitted to or from computer software,
                            including systems and applications software, hard or floppy disks, CD-ROMs,
                            tapes, drives, cells, data processing devices or any other media which are used
                            with electronically controlled equipment.32

         23.      Coverage B – Personal and Advertising Injury Liability of the Policy provides, in

pertinent part:

                  COVERAGE B - PERSONAL AND ADVERTISING INJURY LIABILITY

                  1.        Insuring Agreement

                  We will pay those sums that the insured becomes legally obligated to pay as damages
                  because of “personal and advertising injury” to which this insurance applies. We will
                  have the right and duty to defend the insured against any “suit” seeking those damages.
                  However, we will have no duty to defend the insured against any “suit” seeking damages
                                                                                                     33
                  for “personal and advertising injury” to which this insurance does not apply. . . .

         24.      The Policy defines “personal and advertising injury” in relevant part as “[o]ral or

written publication, in any manner, of material that violates a person’s right of privacy.”34



30
         See Ex. 2 at Form CG 00 01 04 13).
31
         See Ex. 2 at Form 421-2915 12 14.
32
         See Ex. 2 at Form CG 00 01 04 13.
33
         See Ex. 2 at Form CG 00 01 04 13.
34
         See Ex. 2 at Form CG 00 01 04 13.



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 C.       ADMISSION OF BREACH AND NOTICE TO HANOVER

          25.     On April 11, 2016, a news story aired in which Innovak admitted a data breach

 had occurred.35

          26.     Innovak reported the Data Breach Class Action to Hanover on May 13, 2016.36

 III.     MEMORANDUM OF LAW

          Although Innovak filed this insurance coverage action in Florida state court, it is a South

 Carolina company and the Policy was issued and delivered in South Carolina.37 Florida has

 “long adhered to the rule of lex loci contractus”38 which “provides that the law of the jurisdiction

 where the contract was executed governs the rights and liabilities of the parties in determining an

 issue of insurance coverage.39 Thus, South Carolina substantive law governs this contract-based

 insurance coverage dispute, and this motion considers South Carolina law.

          As this Court is well aware, “[t]he court shall grant summary judgment if the movant

 shows that there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.”40 The nonmoving party (Innovak) “must do more than simply

 show that there is some metaphysical doubt as to the material facts.”41 A mere “scintilla” of

 evidence supporting the opposing party’s position will not suffice; there must be a sufficient

 showing that the jury could reasonably find for that party.”42 Because the above-quoted material


 35
          See, e.g., a copy of an April 11, 2016 news article from Lamar County, Mississippi is attached as Exhibit
 “4.” See also,          http://www.wsmv.com/story/31693940/lamar-county-school-district-28-employees-personal-
 information-exposed-in-data-breach.
 36
          See Ex. 3.
 37
          See Rec. Doc. 2 (Comp.) & Ex. 2.
 38
          State Farm Mut. Automobile Ins. Co. v. Roach, 945 So. 2d 1160, 1163 (Fla. 2006). The Florida Supreme
 Court has acknowledged that lex loci contractus is “an inflexible rule” that “is necessary to ensure the stability in
 contract arrangements.” Roach, 945 So. 2d at 1164 (noting that a party should not be able to change or modify the
 contract by moving to another state).
 39
          Id.; see also Sturiano v. Brooks, 523 So. 2d 1126 (Fla. 1988); Lumbermens Mut. Cas. Co. v. August, 530
 So. 2d 293 (Fla. 1988).
 40
          Fed. R. Civ. P. 56(a).
 41
          Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
 42
          Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).



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 facts are indisputable, Innovak cannot show that there is a genuine issue of material fact and

 Hanover is therefore entitled to judgment as a matter of law.

          Hanover seeks a declaration that it has no duty under the Policy to defend or indemnify

 Innovak against the Data Beach Class Action. The question of whether an insurer has a duty to

 defend is a legal question that the Court can decide via summary judgment.43 For purposes of

 making this determination, South Carolina courts have consistently held that “[q]uestions of

 coverage and the duty of a liability insurance company to defend a claim brought against its

 insured are determined by the allegations of the [underlying] complaint.”44 When the facts

 alleged in the underlying complaint “fail to bring the case within policy coverage, the insurer is

 free of the obligation to defend.”45 An insurer therefore has no duty to defend an insured against

 a complaint that does not allege facts within coverage under the policy.46                            Based on the

 undisputed facts above and the legal argument below, Hanover has no duty under the Policy to

 defend or indemnify Innovak against the Data Beach Class Action.47

 A.       THE FIRST-PARTY DATA BREACH COVERAGE FORM

          The Data Breach Class Action results from the Innovak data breach. The Policy contains

 a Data Breach Coverage Form, which is the only portion of the Policy that specifically addresses

 the duties and obligations of the parties in the event of a cyberattack and resulting data breach

 43
           Ellett Bros., Inc. v. U.S. Fid. & Guar. Co., 275 F.3d 384, 387-88 (4th Cir. 2001) ; R.A. Earnhardt Textile
 Mach. Div., Inc. v. S.C. Ins. Co., 282 S.E. 2d 856, 857 (S.C. 1981).
 44
           Auto Owners Ins. Co. v. Pers. Touch Med Spa, LLC, 763 F.Supp.2d 769, 776 (D.S.C. 2011) (quoting City
 of Hartsville v. S.C. Mun. Ins. & Risk Fin. Fund, 677 S.E.2d 574, 578 (S.C. 2009). See also, Ellett Bros., Inc. v.
 U.S. Fid. & Guar. Co., 275 F.3d 384, 387-88 (4th Cir. 2001) ; R.A. Earnhardt Textile Mach. Div., Inc. v. S.C. Ins.
 Co., 282 S.E. 2d 856, 857 (S.C. 1981). Although the general rule in South Carolina has been to look only to the
 allegations in the complaint when determining a duty to defend, there is a line of South Carolina cases that suggest
 that an insurer’s duty to defend may also be determined by facts outside of the complaint. See USAA Prop. & Cas.
 Ins. Co. v. Clegg, 661 S.E.2d 791, 797 (S.C. 2008); City of Hartsville v. S.C. Mua. Ins. & Risk Fin. Fund, 677
 S.E.2d 574, 578 (S.C. 2009) (quoting Clegg, 661 S.E.2d at 798). This exception to the general rule is immaterial
 here as there is no extrinsic evidence that would tend to have an effect on this duty to defend determination.
 45
           R.A. Earnhardt, 282 S.E. 2d at 857
 46
           Shelby Mut. Ins. Co. v. Askins, 413 S.E. 2d 855, 859 (S.C. Ct. App. 1992).
 47
           If an insurer has no duty to defend, it will know that it has no duty to indemnify. See Allstate Indem. Co. v.
 Tilmon, No. 1:13–00690–JMC, 2014 WL 1154666, at *5 (D.S.C. Mar.21, 2014).



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 lawsuit. In the instant case, the Data Breach Coverage Form does not provide coverage for two

 reasons: (i) Innovak failed to comply with the conditions precedent to coverage; and (ii) Innovak

 filed this suit seeking only that Hanover provide a defense against the Data Breach Class Action,

 and the Data Breach Coverage Form, which affords first-party coverage, expressly excludes fees,

 costs, settlements, and judgments related to a claim or lawsuit resulting from a data breach.

          Innovak Failed to Comply with Conditions Precedent to Data Breach Coverage

          For coverage to attach under the Data Breach Coverage Form, the “data breach”48 must

 be: (i) discovered during the Policy effective dates of August 1, 2015 to August 1, 2016; and (ii)

 reported to Hanover within 30 days of Innovak’s discovery of the data breach. It is unclear from

 the pleadings when Innovak discovered the subject cyberattack or resulting data breach. At least

 one news story aired on April 11, 2016;49 thus, Innovak must have discovered the data breach on

 or before April 11, 2016. However, Innovak did not report the data breach to Hanover until May

 13, 2016 − 32 days later.50 Accordingly, Hanover seeks a judicial declaration that the coverages

 afforded under the Data Breach Coverage Form are not triggered because Innovak failed to

 timely report the data breach to Hanover within 30 days of discovery as required.


 48
           “Data breach” means the “loss, theft, accidental release or accidental publication of private personal data
 entrusted to you as respects one or more potentially identified persons” if such loss, theft, accidental release or
 accidental publication has or could reasonably result in the fraudulent use of such information. This definition of
 “data breach” is subject to the following provisions:
 a. “Data breach” includes disposal or abandonment of “private personal data” without appropriate safeguards such
 as shredding or distraction, subject to the following provisions:
      (1) your failure to use appropriate safeguards must be accidental and not intentional reckless or deliberate and
 not in violation of your due diligence obligations under paragraph 2. Additional Conditions, paragraph a; and
      (2) such disposal or abandonment must take place during the time period for which this “data breach” coverage
 form is effective.
 b. “Data breach” includes situations where there is a reasonable cost to suspect that such “private personal data” has
 been lost stolen, accidentally released or accidentally published, even if there is no firm proof.
 c. All incidents of “data breach” that are discovered at the same time or rise from the same cause or from a series of
 some of the causes would be considered one “data breach.” All theft of “private personal data” caused by any person
 or in which the person is involved, whether the result of a single act or series of related acts, is considered a single
 incident of “data breach.” See Ex. 2 at Form 411-0669 (12/09)).
 49
           See, e.g., Ex. 4. See also, http://www.wsmv.com/story/31693940/lamar-county-school-district-28-
 employees-personal-information-exposed-in-data-breach.
 50
           See Ex. 3.



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          The Data Breach Coverage Form Does Not Impose a Defense Obligation and
          Expressly Excludes Defense Costs Arising From a Data Breach

          The Data Breach Coverage Form provides first-party indemnity coverage to Innovak in

 the event of a data breach, including, for example, payment for legal counsel to advise on how to

 respond to the data breach, coverage for notification costs to third parties, coverage for a help

 line for affected third parties, and other costs typically associated with a data breach event.51

 Even if Innovak had complied with the conditions precedent to coverage (which it did not),

 Hanover would still have no obligation to provide a defense because the Data Breach Form

 unequivocally states that “[a]ny fees, costs, settlements, judgments, or liability of any kind

 arising in the course of, or as a result of a claim for damages [or] lawsuit” are not covered.

          In an unpublished decision from the case entitled Camp’s Grocery, Inc. v. State Farm

 and Cas. Co., No. 4:16-cv-00204-JEO (N.D. Ala. Oct. 25, 2015), an Alabama federal court

 considered whether a grocery store that suffered a cyberattack was entitled to coverage under a

 business owners policy.52 Like Innovak, the insured grocery store argued that its non-cyber

 policy covered that cyber loss; however, the Camp’s Grocery court disagreed. The Inland

 Marine Computer Property Form at issue there provided only first-party coverage and did not

 impose a duty on the insurer to defend or indemnify the insured against the claims arising out of

 a data breach. The Camp’s Grocery court therefore entered summary judgment in favor of the

 insurer finding no duty to defend or indemnify.53




 51
          See Ex. 2 at Data Breach Form 411-0669 (12/09).
 52
          A copy of the Memorandum Opinion from Camp’s Grocery is attached as Exhibit “5.” Given the scarcity
 of law on cyber cases across the nation, Hanover provides the Court with a copy of Camp’s Grocery as an example
 of what another court has done in this developing area of law that remains in infancy.
 53
          See generally, Ex. 5 at pp. 17-18.



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          Here, the Data Breach Coverage Form, a first-party form, not only fails to impose a duty

 on Hanover to defend and/or indemnify Innovak, it expressly excludes such obligations.54 South

 Carolina courts have consistently stated that insurance policies may contain exclusions, tailored

 to the business of the particular insured, designed to limit the insurer’s risk exposure from

 hazards peculiar to that business.55 Innovak is asking the Court to ignore the only specific

 portion of the Policy that addresses claims and lawsuits arising from a data breach because

 Innovak knows the Policy addresses and denies the very relief that it is asking the Court to grant.

          Accordingly, based on the “four corners” of the Data Breach Class Action and the

 Policy’s Data Breach Coverage Form, Hanover respectfully requests that this Honorable Court

 enter judgment that the Policy’s Data Breach Coverage Form specifically excludes coverage for

 defense and indemnity for the claims asserted in the Data Breach Class Action and that Hanover,

 therefore, has no duty under the Policy’s Data Breach Coverage Form to defend or indemnify

 Innovak.

 B.       NO COVERAGE UNDER COVERAGE A—NO PROPERTY DAMAGE OR BODILY INJURY

          In an effort to ignore the plain language of the Data Breach Coverage Form, Innovak

 claims that the “allegations propounded against Innovak in the [Data Breach Class Action] fall

 within the coverage of parts A and B in the Policy.”56 Innovak’s contention is misplaced. For

 coverage to attach under the Policy’s Coverage A - Bodily Injury and Property Damage Liability

 Coverage Part, the insured, i.e., Innovak, must be sued for damages for “bodily injury” or

 “property damage” caused by an “occurrence.”57 The Underlying Plaintiffs claim electronic and



 54
          See Ex. 2 at Data Breach Form 411-0669 (12/09).
 55
          B.L.G. Enters., Inc. v. First Fin. Ins. Co., 514 S.E. 2d 327, 330 (S.C. 1999) (quoting Couch on Insurance
 3d, § 130:14 (1997)).
 56
          See Rec. Doc. 2 (Comp.) at ¶10. Innovak does not, however, seek coverage under Coverage A in its
 motion for partial summary judgment, Rec. Doc. 19.
 57
          See Ex. 2 at Coverage A, Insuring Agreement.



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 economic losses as well as “psychic injuries,” none of which meet the Policy’s definitions of

 “bodily injury” or “property damage.” Thus, Innovak cannot carry its burden of proving58 that

 the Insuring Agreement for Coverage A is triggered by the Data Breach Class Action.

          Stolen PPI Is Not “Property Damage”

          The Underlying Plaintiffs claim that third-party hackers breached Innovak’s software,

 database and/or portals and stole their PPI, “including but not limited to social security numbers,

 addresses, telephone numbers, dates of births, employment information, and/or spousal

 information….”59 This stolen information is not “property damage.” It is electronic data, and

 electronic data is expressly excluded from the Policy’s “property damage” definition because

 “electronic data is not tangible property.”60 While no South Carolina court has address this exact

 wording, in Liberty Corporate Capital Ltd. v. Security Safe Outlet, Inc., a federal court applying

 Kentucky law considered an identical provision and held that “the terms of the policy clearly and

 unequivocally exclude ‘electronic data’ . . . from the definition of ‘tangible property.’”61 The

 rationale of the Security Safe case is consistent with the general rules of construction in South

 Carolina.62 Here, Hanover clearly limited its exposure to tangible property and the unambiguous



 58
           As the person seeking coverage, “[t]he burden of proof is on the insured to show that a claim falls within
 the coverage of an insurance contract.” Sunex Intern., Inc. v. Travelers Indem. Co. of Ill., 185 F. Supp. 2d 614, 617
 (2001) (quoting Gamble v. Travelers Ins. Co., 160 S.E.2d 523, 525 (S.C. 1968)).
 59
           See Ex. 1 (First Am. Comp.) at ¶1.
 60
           See Ex. 2 at Form CG 00 01 04 13.
 61
           Liberty Corp. Capital Ltd. v. Security Safe Outlet, Inc., 937 F. Supp. 2d 891, 901 (E. D. Ky. 2013). See
 also, State Auto Property & Cas. Ins. Co. v. Midwest Computers & More, 147 Supp. 2d 1113 (W.D. Okla. 2001)
 (applying Oklahoma law) (ruling that data is not tangible property since computer data has no physical substance
 and only the medium which holds data can be touched, held, or sensed by the human mind); Lucker Mfg. v. Home
 Ins. Co., 23 F.3d 808 (3d Cir. 1994) (applying Pennsylvania and Wisconsin law) (holding that, where value in
 anchoring system design is in the idea, not the medium that memorializes it, loss in value of the design represents
 loss in the value of an idea and not a loss of use of tangible property); Ward General Ins. Services, Inc. v. Employers
 Fire Ins. Co., 7 Cal. Rpt. 3d 844 (Cal. Ct. App. 2003) (ruling loss of stored computer data is not “direct physical
 loss”).
 62
           South Carolina courts “must enforce, not write, contracts of insurance,” and “must give the policy language
 its plain, ordinary, and popular meaning.” MGC Mgmt. of Charleston, Inc. v. Kinghorn Ins. Agency, 520 S.E. 2d
 820, 823 (S.C. Ct. App. 1999) (citing Nationwide Mut. Ins. Co. v. Commercial Bank, 479 S.E. 2d 524 (S.C. Ct. App.
 1996))(citing Fritz–Pontiac–Cadillac–Buick v. Goforth, 440 S.E. 2d 367 (S.C. 1994)).



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 wording of the Policy excludes any alleged theft of or damage to electronic data from its

 definition of “property damage.”

          Economic Loss Is Not “Property Damage”

          The Underlying Plaintiffs claim that they have suffered financial injuries, including

 “costs associated with the detection and prevention of additional identity theft, costs associated

 with time spent preventing future harms and loss of productivity associated with mitigating

 additional harm, stress, nuisance, loss of sleep, worry, and annoyance.63 These costs are not

 “property damage” because they do not involve damage to tangible property. Accordingly,

 consistent with South Carolina law on this issue,64 the Underlying Plaintiffs’ claims for

 economic losses as a result of the data breach do not constitute “property damage” as that term is

 defined in the Policy.

          “Psychic Injuries” Resulting from a Data Breach Are Not “Bodily Injury”

          The Underlying Plaintiffs claim that they “have suffered psychic injuries by learning that

 their PPI has been acquired by nefarious individuals with mal intent” as well as “stress, nuisance,

 loss of sleep, worry and the annoyance of having to deal with the Innovak data breach.”65 These

 claimed psychic injuries are not “bodily injury,” which the Policy defines as “bodily injury,

 sickness or disease sustained by a person including death resulting from any of these at any time.

 ‘Bodily injury’ includes mental anguish or other mental injury resulting from ‘bodily injury.’”66


 63
          See Ex. 1 (First Am. Comp.) at ¶4.
 64
          “CGL coverage ‘is for tort liability for injury to persons and damage to other property and not for
 contractual liability of the insured for economic loss because the completed work is not that for which the damage
 person bargained.” Bennet & Bennet Const., Inc. v. Auto Owners Ins. Co., 405 S.C. 1, 8–9, 747 S.E.2d 426, 430
 (2013) (quoting Century Indem. Co v. Golden Hills Builders, Inc., 348 S.C. 559, 565–66, 561 S.E.2d 355, 258
 (2002), overruled in part on other grounds by Crossman Cmtys. of N.C., Inc. v. Harleysville Mut. Ins. Co., 395 S.C.
 40, 717 S.E.2d 589 (2011)). The South Carolina Supreme Court has also held, for example, that a CGL policy is not
 intended to cover economic loss resulting from faulty workmanship. Century Indem. Co. v. Golden Hills Builders,
 Inc., 348 S.C. 559, 563–64, 561 S.E.2d 355, 357 (2002).
 65
          See Ex. 1 (First Am. Comp.) at ¶4.
 66
          See Ex. 2 at Form 421-2915 12 14.



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 Clearly, psychic injury resulting from the Innovak data breach—as alleged by the Underlying

 Plaintiffs—is not a mental injury resulting from “sickness or disease sustained by a person

 including death” as is required by the Policy’s definition of “bodily injury.”

          Several courts applying South Carolina law have consistently recognized the distinction

 between purely psychic injury and “bodily injury” as that term is defined in a commercial

 liability policy.      For example, in Jefferson-Pilot Fire & Casualty Co. v. Sunbelt Beer

 Distributers, Inc., a federal court applying South Carolina law addressed whether a claimant’s

 alleged mental anguish and humiliation which allegedly resulted from racial discrimination and

 unequal pay claims against the claimant’s former employer was covered bodily injury under a

 commercial liability policy which defined that term as “bodily injury, sickness or disease

 sustained by a person, including death resulting from these at any time.”67 There, the underlying

 complaint contained no allegations of personal physical damage and the Jefferson-Pilot court

 was “not prepared to extend the interpretation of ‘bodily injury’ to include purely emotional

 damage absent some objective indication of physical symptoms.”68 The Jefferson-Pilot court

 therefore held that the claimant’s allegations of mental anguish and humiliation were not covered

 under the policy at issue there.69

          Similarly, in Home Insurance Co. v. Hartford Fire Insurance Co., a federal court

 applying South Carolina law addressed whether a claim for mental anguish allegedly resulting

 from an employer’s reassignment of the claimant’s sales accounts to another sales agent fell

 within a policy’s definition of bodily injury which, as the Policy here does, included “bodily

 injury, sickness or disease sustained by a person, including mental anguish or death resulting



 67
          Jefferson-Pilot Fire & Casualty Co. v. Sunbelt Beer Distributers, Inc., 839 F. Supp. 376 (D.S.C. 1993).
 68
          Id. at 379.
 69
          Id.



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 from any of these.”70        The Home Insurance court noted:               “It is abundantly clear that the

 defendants’ policies provide coverage for mental anguish only if the mental anguish results from

 bodily injury, sickness or disease.”71 Because the alleged mental anguish at issue there was

 wholly unrelated to bodily injury, sickness, or disease, the Home Insurance court concluded

 there was no coverage for the mental anguish claim under the commercial liability policy.72

          Here, the Underlying Plaintiffs claim that their alleged “psychic injuries” resulted from

 the Innovak data breach. They did not result from “‘bodily injury’, sickness or disease sustained

 by a person including death” as is required to trigger coverage and, thus, a duty to defend. As

 with the claimants in the Jefferson-Pilot and Home Insurance cases discussed above, the

 Underlying Plaintiffs’ mental anguish claims are unrelated to any “bodily injury.” Therefore, the

 “psychic injuries” alleged in the Data Breach Class Action do not fall within the Policy’s

 definition of “bodily injury” such as to trigger coverage and a duty to defend.

          Based on the “four corners” of the Data Breach Class Action and the Policy’s Coverage

 A insuring agreement, Hanover respectfully requests that this Honorable Court enter judgment

 that Hanover has no duty to defend or indemnify Innovak under Coverage A.

 C.       NO COVERAGE UNDER COVERAGE B—NO PERSONAL OR ADVERTISING INJURY

          Similarly, Innovak’s contention that the allegations of the Data Breach Class Action

 trigger Coverage B of the general liability portion of the Policy is equally misplaced.

          There Was No Publication As Required Under Coverage B

          For coverage to attach under the Policy’s Coverage B - Personal and Advertising Injury

 Coverage Part, the insured, i.e., Innovak, must be sued for damages for “personal and advertising



 70
          Home Ins. Co. v. Hartford Fire Ins. Co., 379 F. Supp. 2d 1282 (M.D. Ala. 2005).
 71
          Id. at 1289.
 72
          Id.



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 injury”, a term which is defined in part as “[o]ral or written publication, in any manner, of

 material that violates a person’s right of privacy.”73

          Courts, including the Eleventh Circuit, recognize that the term “publication” in Coverage

 B, although not defined in the Policy, means “communication (as of news or information) to the

 public: public announcement” or “the act or process of issuing copies ... for general distribution

 to the public.”74 The phrase “in any manner” merely “expands the categories of publication

 (such as email, handwritten letters, and, perhaps, ‘blast-faxes’) covered by the policy.”75 Here,

 the Innovak data breach does not involve a public dissemination of the Underlying Plaintiffs’

 PPI, as the plain meaning of the term publication requires. Rather, the allegations are that

 Innovak’s failure to provide the proper cybersecurity allowed one or more nefarious hackers to

 appropriate or steal the subject PPI.76 Failure to prevent an appropriation of information is not

 synonymous with publication.77               Simply put, because the Underlying Plaintiffs allege

 appropriation of their PPI by hackers—not public dissemination of it—the First Amended Class

 Action Complaint does not allege an intentional act of publication as required under Coverage B.

          Coverage B Requires a Publication by Innovak

          Even assuming arguendo, that there has been a publication (which is denied), the First

 Amended Class Action Complaint does not allege a publication by Innovak. While no South

 73
          See Ex. 2 at Coverage B, Insuring Agreement.
 74
          Creative Hospital Ventures, Inc. v. U. S. Liability Ins. Co., 444 F. App’x 370, 375–76 (11th Cir. 2011)
 (quoting Penzer v. Transportation Ins. Co., 29 So. 3d 1000, 1005–1006 (Fla. 2010)). “Publication occurs when
 information is ‘placed before the public,’ not when a member of the public reads the information placed before it.”
 Travelers Indem. Co. of Am. v. Portal Healthcare Sols., LLC, 35 F. Supp. 3d 765, 771 (E.D. Va. 2014), aff'd sub
 nom. Travelers Indem. Co. of Am. v. Portal Healthcare Sols., L.L.C., 644 F. App'x 245 (4th Cir. 2016). See also
 Whole Enchilada, Inc. v. Travelers Prop. Cas. Co., 581 F. Supp. 2d 677, 696-97 (W.D. Pa. 2008); Terra Nova Ins.
 Co. v. Fray-Witzer, 869 N.E.2d 656, 572 (Mass. 2007).
 75
          Creative Hospital Ventures, 444 F. App’x at 376.
 76
          See Ex. 1 (First Am. Comp.) at ¶¶1-2.
 77
          See Recall Total Information Management, Inc. v. Federal Ins. Co., 147 Conn. App. 450, 83 A.3d 664
 (2014), aff’d, 317 Conn. 46, 115 A.3d 458 (2015) (finding the failure to secure information did not constitute “other
 publication” for purposes of personal and advertising injury); Regents of Univ. of California v. Superior Court, 220
 Cal. App. 4th 549, 163 Cal. Rptr. 3d 205 (2013), as modified on denial of reh’g (Nov. 13, 2013) (finding the theft of
 a hard drive containing confidential medical information was not a “release” of the patient’s information).



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 Carolina courts have had the opportunity to address the publication issue in the context of a data

 breach, other courts have held under similar facts that, for “personal and advertising injury”

 coverage to be implicated, the subject publication must be made by the insured. For example, in

 Zurich American Insurance Co. v. Sony Corp. of America, a New York court considered whether

 an insurer had a duty to defend or indemnify its insured against a data breach claim involving a

 third-party hacking into the insured’s software.78 The core issue in the Sony case was whether

 accessing the claimants’ information by the third-party hackers constituted a publication of

 material violating the claimants’ right to privacy as necessary to trigger the policy’s “personal

 and advertising” coverage.79 Even though the policy did not expressly require publication by the

 insured, the Sony court held that the policy clearly did not cover publication by third parties.80

 The Sony court noted that interpreting the “personal and advertising” definition to include acts by

 third parties would amount to an expansion of coverage not bargained for by the insurer.81

          Other courts addressing whether a third party’s actions trigger coverage for “personal and

 advertising injury” have similarly held that “personal and advertising injury” requires affirmative

 actions by the insured.82 In Butts v. Royal Vendors Inc., the court found that publication by a

 third party did not trigger personal and advertising injury coverage because the insured must

 commit the affirmative act of publication.83 Additionally, in Miken Sales, Inc. v. Diamond State

 Ins. Co., the court found that an insured must engage in specific actions under the “personal and

 78
          Zurich American Insurance Co. v. Sony Corp. of America, No. 651982/2011, 2014 WL 8382554 (N.Y.
 Sup. Feb. 21, 2014).
 79
          Id. at 7-17.
 80
          Id. at 34-37.
 81
          Id.
 82
          See Butts v. Royal Vendors Inc., 504 S.E. 2d 911 (W.Va. 1998); Miken Sales, Inc. v. Diamond State Ins.
 Co., 2007 LEXIS 7422 (C.D. Cal. Apr. 19, 2007). See also, Camp’s Grocery (Ex. 5) at footnote 5 on p. 14 of the
 Memorandum Opinion wherein the court noted in dicta that if the insured grocery store had not abandoned its
 argument under Coverage B, the court would have found that “the underlying action does not allege … ‘personal or
 advertising injury’ for the reasons stated in State Farm’s [the insurer’s] brief” that there was no publication by the
 insured grocery store.
 83
          Butts, 504 S.E. 2d at 917.



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 advertising injury” policy definition and not merely enable a third party’s actions to trigger

 coverage.84

          The outcomes in Sony, Butts, and Miken Sales are consistent with South Carolina law,

 which requires courts to interpret policies as a whole and give the language its plain and ordinary

 meaning.85 Reading Coverage B’s insuring agreement together with the “right to privacy” prong

 of the definition of “personal and advertising injury” instructs that Hanover agreed to “pay those

 sums that [Innovak] becomes legally obligated to pay as damages because of… publication … of

 material that violates a person’s right to privacy.” The only reasonable construction of this

 language is that Coverage B applies to offenses committed by the insured, i.e., by Innovak.

 After all, Hanover agreed to insure Innovak against the offenses covered by the Policy and

 construing the Policy to afford coverage here would unreasonably extend coverage for the

 intentionally tortious actions of unknown third parties.86                     Thus, the foregoing case law

 establishes that publication of the Underlying Plaintiffs’ information by third-party hackers does

 not fall within the Policy’s definition of “personal and advertising injury.” Given that there was

 no alleged publication by Innovak, the claims made and damages sought in the Data Breach

 Class Action do not trigger Coverage B.

          Coverage B Applies Only to Intentional Acts by the Insured

          Unlike Coverage A, which provides coverage based on the harm suffered, Coverage B

 applies to the specific offenses enumerated in the Policy. A review of those covered offenses,

 including the invasion of privacy offense at issue here, reveals that they all require an affirmative



 84
          Miken Sales, 2007 LEXIS 7422 at *9.
 85
          Canal Ins. Co. v. Nat'l House Movers, LLC, 777 S.E. 2d 418, 421 (S.C. Ct. App. 2015).
  86
          “[I]f the intention of the parties is clear, courts should not torture the meaning of policy language to extend
  or defeat coverage that was never intended by the parties.” MGC Mgmt. of Charleston, Inc. v. Kinghorn Ins.
  Agency, 520 S.E. 2d 820, 823 (S.C. Ct. App. 1999) (citing Nationwide Mut. Ins. Co. v. Commercial Bank, 479
  S.E. 2d 524 (S.C. Ct. App. 1996)).



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 act by the insured.        Consequently, numerous courts have recognized that personal injury

 coverage applies only to an insured’s intentional conduct.87 Indeed, the Supreme Court of South

 Carolina has noted that personal injury coverage insures against “intentional torts.”88 Thus, for

 Hanover’s duty to defend to arise under Coverage B, the Data Breach Class Action must allege

 that Innovak intentionally violated the plaintiff’s privacy, which it does not. Rather, the

 Underlying Plaintiffs allege, at most, that Innovak failed to safeguard their information or

 disregarded the hacking risk—conduct that falls short of intentional. Since the First Amended

 Class Action Complaint does not allege that Innovak intentionally disclosed the Underlying

 Plaintiffs’ PPI, the First Amended Class Action Complaint does not allege a potentially covered

 claim for violation of the right to privacy and, consequently, Hanover has no duty to defend.89

          Based on the “four corners” of the Data Breach Class Action and the Policy’s Coverage

 B insuring agreement, Hanover respectfully requests that this Honorable Court enter judgment

 that Hanover has no duty to defend or indemnify Innovak under Coverage B. 90




 87
           See, e.g., Cnty. of Columbia v. Cont’l Ins. Co., 634 N.E..2d 946, 950 (N.Y. 1994) (“[C]overage under the
 personal injury … provision … was intended to reach only purposeful acts undertaken by the insured or its
 agents.”); Gregory v. Tenn. Gas Pipeline Co., 948 F.2d 203, 209 (5th Cir. 1991) (personal injury coverage “requires
 active, intentional conduct by the insured”); Harrow Prods. v Liberty Mut. Ins. Co., 64 F.3d 1015, 1025 (6th Cir
 1995) (holding that each enumerated offense in Coverage B requires an intentional act); Stonelight Tile v Cal. Ins.
 Guar. Ass’n, 58 Cal. Rptr. 3d 74, 89 (Cal. Ct. App. 2007) (noting that Coverage B offenses are based on intentional
 conduct and not accidental conduct).
 88
           See, e.g., S.C. State Budget & Control Bd. v. Prince, 304 S.C. 241, 403 S.E.2d 643, 647 (S.C.1991) (noting
 that “the policy purports to provide coverage for certain intentional torts under the policy's definition of covered
 personal injuries….”).
 89
           Alabama law governs the Data Breach Class Action. In Alabama, a viable claim for invasion of privacy
 requires that the defendant act intentionally, which likely explains why the Data Breach Class Action does not plead
 an invasion of privacy claim. See, e.g. Burton v. MAPCO Express, Inc., 47 F. Supp. 3d 1279, 1288 (N.D. Ala. 2014)
 (holding in a data breach case that the plaintiffs’ invasion of privacy claim failed because “[u]nder Alabama law,
 invasion of privacy is an intentional tort” and the complaint did not allege “an intentional act of divulging …
 confidential information.”); Rosen v. Montgomery Surgical Ctr., 825 So. 2d 735, 737 (Ala. 2001) (quoting Carter v.
 Innisfree Hotel, Inc., 661 So. 2d 1174, 1178 (Ala.1995).
 90
           Coverage B is subject to a Breach of Contract exclusion (paragraph f.) which applies to further bar
 coverage for any alleged “personal and advertising injury” arising out of any breach of contract, i.e., Count II—
 Breach of Implied Contract. See Ex. 2. at Coverage B Breach of Contract exclusion (paragraph f.). Hanover
 reserves the right to fully brief this issue at a later date in the event this dispositive motion is denied.



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 IV.      CONCLUSION

          The Hanover Policy specifically addresses the duties and obligations of the parties in the

 event of claims and/or a lawsuit arising from a data breach. The Policy expressly excludes the

 very duty – the duty to defend – that Plaintiff now seeks Hanover to perform. Based on the

 unambiguous Policy language, the allegations against Innovak in the Data Breach Class Action,

 and the prevailing case law, the Policy does not provide coverage for the claims and damages

 alleged against Innovak. Accordingly, Hanover has no duty to defend or indemnify Innovak in

 the Data Breach Class Action.

          WHEREFORE, Hanover respectfully requests, for the reasons set forth above, that this

 Honorable Court enter summary judgment in its favor, pursuant to Fed. R. Civ. P. 56, declaring

 that: (i) Hanover has no duty under the Policy to defend or indemnify Innovak against the Data

 Breach Class Action; and (ii) this insurance coverage action be dismissed, with prejudice, at

 Innovak’s cost.

          Dated this 30th day of March, 2017.


                                                PHELPS DUNBAR LLP


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                                                Company




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 30, 2017, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

 all counsel of record.


                                            /s/ Mallory H. Thomas________
                                            Attorney




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